Case 2:04-cr-20474-BBD Document 35 Filed 05/02/05 Page 1 of 2 Page|D 40

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

UNI'I`ED STATES OF AMERICA

 

V.

KATHERINE SUE PRATT 04cr20474-2-D

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on 7726(/% g_. g 005 the United States Attomey

for this district appeared on behalf of the governme€t, and the defendant appeared in person and With
coun sel: `

NAME l JFA-/ _&LMVY"` who is Retainedeppointed.

 

The defendant, through coun sel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

_/'1'he defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
"©M m /( &t'b%#

UNITED STATES MAGISTRATE ]UDGE

 

CHARGES - 18:2251A.F

SELLING OR BUYING OF CHILDREN `WMW¢

. ;;r\. ` dog /
Attorney assigned to Case: S. Newsom l an :W`;i_§_w,w\ / /

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This notice confirms a copy of the document docketed as number 35 in
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Sheila D. BroWn

LAW OFFICE OF SHEILA D. BROWN
9160 Highway 64

Ste. 12

Lakeland7 TN 38002

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 .lefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

